Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 1 of 10

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

NATIONAL PUBLIC RADIO INC., et al.
Plaintiffs,

V. Civil Action No. 18-cv-03066-CJN

FEDERAL BUREAU OF
INVESTIGATION, et al.

 

Defendants.

 

DECLARATION OF DAVID M. HARDY

I, David M. Hardy, declare as follows:

(1) I am the Section Chief of the Record/Information Dissemination Section
(“RIDS”), Information Management Division (“RMD”), in Winchester, Virginia. I have held
this position since August 1, 2002. Prior to my joining the Federal Bureau of Investigation
(“FBI”), from May 1, 2001 to July 31, 2002, I was the Assistant Judge Advocate General of the
Navy for Civil Law. In that capacity, I had direct oversight of Freedom of Information Act
(“FOIA”) policy, procedures, appeals, and litigation for the Navy. From October 1, 1980 to
April 30, 2001, I served as a Navy Judge Advocate at various commands and routinely worked
with FOIA matters. I am also an attorney who has been licensed to practice law in the State of
Texas since 1980.

(2) In my official capacity as Section Chief of RIDS, I supervise approximately 245
FBI employees, supported by approximately 74 contractors, who staff a total of twelve (12) FBI
Headquarters (“FBIHQ”) units and two (2) field operational service center units whose collective

mission is to effectively plan, develop, direct, and manage responses to requests for access to
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 2 of 10

FBI records and information pursuant to the FOIA as amended by the OPEN Government Act of
2007, the OPEN FOIA Act of 2009, and the FOIA Improvement Act of 2016; the Privacy Act of
1974; Executive Order 13526; Presidential, Attorney General, and FBI policies and procedures;
judicial decisions; and Presidential and Congressional directives. The statements contained in
this declaration are based upon my personal knowledge, upon information provided to me in my
official capacity, and upon conclusions and determinations reached and made in accordance
therewith.

(3) Due to the nature of my official duties, I am familiar with the procedures followed
by the FBI in responding to Plaintiffs’ request for information from its files pursuant to the
provisions of the FOIA, 5 U.S.C. § 552. Specifically, I am aware of the FBI’s handling of
Plaintiffs’ FOIA request for records related to videos of ballistics tests conducted with
ammunition fired into gelatin.

(4) In accordance with Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), this
declaration is submitted in support of Defendant’s motion for Summary Judgment and includes
the following: a brief administrative history of Plaintiffs’ FOIA request; the procedures used to
search for, review, and process responsive records; and the FBI’s justification for withholding
records in full pursuant to FOIA Exemptions 7(E) and 7(F).

ADMINISTRATIVE HISTORY OF PLAINTIFFS’ REQUEST

(5) By e-FOIA! dated April 19, 2018, Plaintiffs submitted a FOIA request to the FBI

seeking:

[V Jideo recordings of ballistics tests conducted with common handgun and rifle
ammunition, fired into ballistics gelatin... video of common ammunition in multiple

 

' An e-FOIA is an electronic means by which requesters can submit FOIA requests to the FBI,
online, through the FBI’s public website, www.FBI.gov.

2
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 3 of 10

calibers and cartridges including but not limited to: .9 mm full metal jacket, .9 mm
expanding, .22 full metal jacket, and .223 full metal jacket.

Plaintiffs also stated they did not seek identifying information regarding specific FBI cases or
investigations. Plaintiffs also requested a waiver of duplication fees, but indicated they were
willing to pay reasonable duplication fees in the event the fee waiver was denied. See Exhibit
A.

(6) By letter dated May 1, 2018, the FBI acknowledged receipt of Plaintiffs’ request
and assigned it FOIPA Request Number 1403613-000. The FBI advised Plaintiffs their request
for fee waiver was being considered and they would be advised of the decision at a later date.
The FBI also advised Plaintiffs for purposes of assessing fees, it determined Plaintiffs were: an
educational institution, noncommercial scientific institution or a representative of the new media.
Therefore, Plaintiffs would be charged for only applicable duplication fees if their fee waiver
was denied. Moreover, the FBI informed Plaintiffs they could appeal the FBI’s determination by
writing to the U.S. Department of Justice (“DOJ”), Office of Information Policy (“OIP”), within
ninety (90) days from the date of its letter; contact the FBI’s FOIA public liaison; and or seek
dispute resolution services by contacting the Office of Government Information Services
(“OGIS”). See Exhibit B.

(7) By letter dated May 22, 2018, the FBI advised Plaintiffs it was withholding
material responsive to Plaintiffs’ request in full pursuant to FOIA Exemption 7(E), 5 U.S.C. §
(b)(7)(E). The FBI also advised Plaintiffs they could appeal the FBI’s determination by writing
to the DOJ OIP, within ninety (90) days from the date of its letter; contact the FBI’s FOIA public
liaison; and or seek dispute resolution services by contacting the Office of Government

Information Services (“OGIS”). See Exhibit C.
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 4 of 10

(8) By letter dated August 14, 2018, sent via email, Plaintiffs submitted an appeal to
DOJ OIP contesting the FBI’s May 22, 2018 response to Plaintiffs’ FOIA request. Plaintiffs’
appeal averred the FBI had not met its burden to invoke Exemption 7(E) to withhold the
responsive records. See Exhibit D.

(9) By letter dated August 15, 2018, OIP acknowledged receipt of Plaintiffs’ appeal
and assigned it appeal number AP-2018-007610. See Exhibit E.

(10) By letter dated September 28, 2018, OIP affirmed the FBI’s response stating it
properly withheld the requested information in full under FOIA Exemption (b)(7)(E). OIP also
advised Plaintiffs of their right to mediation services through the OGIS. See Exhibit F.

(11) On December 21, 2018, Plaintiffs initiated this instant action. See Docket
Number 1.

(12) By email dated March 18, 2019, from Plaintiffs’ counsel to the Assistant United
States Attorney (“AUSA”) representing Defendant, Plaintiffs provided additional information to
assist the FBI in its search for responsive records. Plaintiffs’ counsel stated Plaintiffs included
“but not limited to” language in their request to ensure the FBI searched for responsive records
for “equivalent bullets, which may be labelled or categorized using the international system or
other classifications”. Plaintiffs provided the below chart indicating the equivalent bullet

classifications encompassed in their FOIA request:

 

 

 

 

 

 

 

Specified bullet Equivalent bullets

9mm full metal jacket .38 caliber full metal jacket

9mm expanding round .38 caliber expanding round

.22 full metal jacket 5.56x15mm full metal jacket, .22LR

.223 full metal jacket 5.56mmx45mm full metal jacket (e.g. NATO round)

 

 
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 5 of 10

(13) By letter dated June 10, 2019, the FBI advised Plaintiffs the FBI located 97 videos
responsive to Plaintiffs’ request. In addition, the FBI advised Plaintiffs the FBI withheld this
material pursuant to (b)(7)(E), and (b)(7)(F). Additionally, the FBI advised Plaintiffs they could
direct any further inquiries about this case to the Attorney representing the Government in this
matter. See Exhibit G.

THE FB?’S SEARCH FOR RESPONSIVE RECORDS

(14) _ RIDS determined responsive videos would likely be in the possession of two (2)
FBI Divisions — 1) Laboratory Division (“LD”), and 2) Training Division (“TD”). RIDS
provided a copy of Plaintiffs’ request and the subsequent chart provided by Plaintiff's counsel
(See § 12 supra) to facilitate the search. RIDS requested the Laboratory Division’s
Firearms/Toolmarks Unit (“FTU”) conduct a search of records in its possession for any
responsive videos. The FTU responded it does not maintain any videos responsive to Plaintiffs”
request. RIDS also requested the Training Division’s Defensive Systems Unit’s (“DSU”)?
Ballistic Research Facility (“BRF”) conduct a search of records in its possession for any
responsive videos. BRF subsequently conducted an electronic search of its video collection for

responsive videos. They further narrowed the results to any videos related to ballistics testing in

 

* The mission of the Firearms/Toolmarks Unit (“FTU”) of the FBI Laboratory is to apply valid
scientific procedures to the forensic examinations of firearms, ammunition components,
toolmarks, serial number restoration, gunshot residue, bullet trajectories, and other closely-
related physical evidence in support of the FBI and other law enforcement agencies, and to
provide leadership to the forensic Firearm and Toolmark community through training and
research.

> The mission of the Defensive Systems Unit is to provide research, logistic and operational
support to all entities within the FBI, as well as to trusted USIC [“United States Intelligence
Community”] and law enforcement partners. Specifically, DSU is accountable for life cycle
management of the FBI’s ammunition, ballistic protective equipment and weapons systems, from

procurement to final disposition. Additionally, DSU prioritizes and manages range acquisition
and development.
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 6 of 10

gelatin and manually scoped those results down to videos per caliber type. Through this search,
the BRF located 97 videos responsive to Plaintiffs’ request. RIDS also confirmed with FTU and
BRF there were no other locations where responsive FBI videos of this nature would likely be
located. As such, RIDS, through the assistance of FTU and BRF, conducted a search reasonably
calculated to locate all responsive records.

(15) | RIDS reviewed the responsive videos and determined the videos are exempt from
disclosure pursuant to FOIA Exemptions (b)(7)(E) and (b)(7)(F). The release of these videos
would disclose techniques and/or procedures for law enforcement investigations and could
reasonably be expected to risk circumvention of the law. In addition, the release of these videos
could reasonably be expected to endanger the life or physical safety of individuals.

JUSTIFICATION FOR NON-DISCLOSURE UNDER THE FOIA
EXEMPTION 7 THRESHHOLD

(16) Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it
must first demonstrate that the records or information at issue were compiled for law
enforcement purposes. Pursuant to 28 USC §§ 533, 534, and Executive Order 12333 as
implemented by the Attorney General’s Guidelines for Domestic FBI Operations (AGG-DOM)
and 28 CFR § 0.85, the FBI is the primary investigative agency of the federal government with
authority and responsibility to investigate all violations of federal law not exclusively assigned
to another agency, to conduct investigations and activities to protect the United States and its
people from terrorism and threats to national security, and further the foreign intelligence
objectives of the United States. Under this investigative authority, the responsive records herein

were compiled for the following specific law enforcement purposes.
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 7 of 10

(17) The pertinent records were compiled and/or created in furtherance of the FBI’s
law enforcement mission. To accomplish this mission, inherent tasks and operational functions
are required, to include the identification of, development, and implementation of law
enforcement and intelligence gathering methods, techniques, procedures, and guidelines.
Specifically, the records responsive to Plaintiffs’ request were created as a result of testing of
different types of ammunition fired into various forms of gelatin. The derivative information
gleaned from this research and testing is vital to the law enforcement and intelligence
communities to assist in determining ammunition procurement and providing law enforcement
training. Therefore, these records were created for a law enforcement purpose allowing for the

application of Exemption (b)(7).

EXEMPTION (b)(7)(E)
INVESTIGATIVE TECHNIQUES AND PROCEDURES

(18) 5U.S.C. § 552(b)(7)(E) provides protection for:
law enforcement records [which]...would disclose techniques and procedures for
law enforcement investigations or prosecutions, or would disclose guidelines for
law enforcement investigations or prosecutions if such disclosure could
reasonably be expected to risk circumvention of the law.

(19) Exemption (b)(7)(E) has been asserted to withhold records, the release of which
would disclose techniques for law enforcement investigations or prosecutions that could
reasonably be expected to risk circumvention of the law. Specifically, the FBI withheld videos
of different ammunition being fired into gelatin. The responsive videos are part of the important
testing and research conducted by the FBI for law enforcement training and ammunition
procurement. The disclosure of these videos would inform criminals how the FBI investigates

the use of different types of ammunition in the commission of real-world criminal acts; and also

how the FBI determines which types of ammunition are most effective for specific law
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 8 of 10

enforcement applications. Revelation of this information would provide criminals with an
understanding of which types of ammunition they should use to inhibit FBI efforts to investigate
their criminal acts involving the use of firearms. It would also allow them to predict the use of
specific types of ammunition in particular law enforcement applications, and inform them how
best they should prepare for an armed confrontation with law enforcement. Furthermore, the FBI
determined release of these videos would reveal the performance capabilities of specific types of
ammunition and their ability to wound individuals. Public release of this information would
enable criminals to discern which types of ammunition they should use in commission of
different crimes and how they could more effectively cause harm to other individuals.
Accordingly, as release of this information would enable criminals to circumvent FBI law
enforcement and enable them to more effectively commit crimes involving firearms, the FBI

properly protected this information from disclosure pursuant to FOIA Exemption 7(E).

EXEMPTION 7(F)
ENDANGERMENT OF THE LIFE OR PHYSICAL SAFETY OF ANY INDIVIDUAL

(20) 5 U.S.C. § 552 (b)(7)(F) permits the withholding of “records or information
compiled for law enforcement purposes, but only to the extent that the production of such law
enforcement records or information ... could reasonably be expected to endanger the life or
physical safety of any individual.”

(21) Exemption (b)(7)(F) has been asserted in conjunction with (b)(7)(E) to protect
against the release of information regarding the effectiveness of the use of different types of
ammunition. Release of the ballistics testing videos at issue would inform criminals as to the
ability of different types of ammunition to harm individuals. Considering release of this
information would enable criminals to make informed decisions on how best to injure others

through the use of specific types of ammunition, the FBI determined release of these videos
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 9 of 10

could reasonably be expected to endanger the lives and safety of individuals. Thus, the FBI also
withheld this information pursuant to Exemption 7(F).
CONCLUSION

(22) The FBI conducted a reasonable search for responsive records. The FBI
identified 97 responsive videos within its possession responsive to Plaintiffs request. The FBI
withheld these videos in full pursuant to FOIA Exemptions (b)(7)(E) and (b)(7)(F), 5 U.S.C. §
552(b)(7)(E) and (b)(7)(F) as releasing any of this information would disclose techniques and
procedures for law enforcement investigations and/or would reasonably be expected to endanger
the life or physical safety of individuals. The FBI is unable to reasonably segregate any of this
information for release as these videos consist wholly of ballistics testing, information that would
allow criminals to determine how best to circumvent the FBI’s use of specific ammunition in law
enforcement applications; how the FBI investigates the use of particular types of ammunition:
and the performance capabilities of certain types of ammunition and their ability to wound
individuals. As such, further segregation would risk harms protected by Exemption (b)(7)(E)
and (b)(7)(F). In addition, at Exhibit H, the FBI is including a Vaughn index describing the

nature of the records withheld.
Case 1:18-cv-03066-CJN Document 23-2 Filed 10/16/19 Page 10 of 10

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct, and that Exhibits A through H attached hereto are true and correct copies.
Ye

+>
Executed this | [e day of October, 2019.

AVID M. HARDY
Section Chief

Record/Information Dissemination Section
Information Management Division

Federal Bureau of Investigation
Winchester, Virginia

 

10
